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EXHIBIT C

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IN THE UNITED STATES DISTRICT COURT
FOR THE WES'I'ERN DISTRICT OF TEXAS

AUSTIN DIVlsloN

UMG RECORDlNGs,mc., eral., §
Plainsfrs, §

vs § Civil Action No. l:lS-mc-OU&IS-LY
' §
GRANDE coMrviUNicATIoNs §
NETWORKS LLc and PATRJoT MEDIA §
coNsULTING, LLc, §
Defendants. §

DECLARATION OF STEVEN POLTORAK IN SUPPORT OF PLAINTIFFS’
SUPPLEMENTAL MOTION TO SEAL CERTAIN EXHIBITS

I, Steven Poltorak, the undersigned, hereby declare:

l. I am Vice President, Rights Administration at Rhino Entertainment Company,
the catalog rights division of Warner Music Group Corp. (“WMG”). WMG is the parent of
Warner Bros. Records Inc., At.lantic Recording Corporation, Elekt.ra Entertainment Group Inc.,
Rhino Entertainment Company, Nonesuch Records lnc., Fueled by Ramen LLC, and Roadrunner
Records, Ine., seven of the plaintiffs in this lawsuit (collectively, the “WMG Plaintid`s”). In my
capacity as Vice President, Rights Administlation for Rhino Entertaimnent Company, I am
involved with issues of ownership rights for WMG and its record label a$liates, including but
not limited to the WMG Plaintiffs. Through my employment at WMG, l am familiar with the
books and records of the WMG Pla.intiffs and their record label af&liates, including documents
such as agreements (including those referenced in this Declaration), pursuant to which the WMG

Plaintiffs possess rights in the sound recordings at issue in this litigation.

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2. I submit this Declaration in support of Plaintiii`s’ Supplemeotal Motion to Seal
Certain Exhibits, I have personal knowledge of the facts set forth below and/or have learned of
these facts as a result of my position and responsibilities at WMG. If called upon and sworn as a
witness, I could and would testify competently as to the matters set forth herein.

3. On September 14, 2018, I submitted a Declaration in Suppott of PlaintiH`s'
Opposition to Grande’s Motion for Summary Judgment, and Cross-Motion for Summary
Judgment (“September 14 Declaration”) [Dkt. 180-1 through 180-31]. I attached exhibits to that
Declaration with the understanding that they were being filed under seal and would be shielded
from public disclosure under the Protective Order entered in this case. In addition, Grande hled
certain of Plaintiifs’ documents as exhibits to its August 31, 2018 Motion For Sanctions And To
Exclude Documents Produced After 'I'he Fact Discovcry Deadline [Dkt. 156] (“Motion to
Exclude”).

4. I am submitting the instant Declaration to support the WMG Plaintiffs’ request
that the documents remain under seal. 'I'hese materials comprise contracts between the WMG
Plainti&`s and recording artists, and inter-company licensing agreements As discussed below,
the WMG Plaintiii`s treat these documents as highly contidential, and the disclosure of the terms
of these agreements would cause the WMG Plaintiii`s competitive and financial harm.

Artist ant_r_§gts

5. The WMG PIaintiH`s are engaged in the creation, manufacture, distribution,
licensing and sale of sound recordings Like other record labels, the WMG Plaintiffs enter into
contracts with recording artists, or production companies affiliated with such artists, pursuant to

which these artists or production companies grant to the WMG plaintiffs ownership of the rights

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in sound recordings, delivered by those performers to the WMG PlaintiiT's pursuant to the
contracts

6. The following exhibits to my September 14 Declaration consist of artist or
production company contracts (and related licensing agreements): Exhibits 2, 4, 8, 9, ll, 12, 13,
14,15,16,17,18, 23,24, and 25.

7. Artist contracts are among the most highly confidential and competitiver
sensitive documents in the WMG Plaintifi`s’ liles. Record companies compete vigorously to sign
artists to exclusive recording agreements, and to retain them. The WMG Plaintiffs’ artist
contracts are detailed agreements that set forth the numerous terms of the parties’ agreement
including how many albums the artist will record for the record company, the process for
recording albums under the agreement as well as the recording fund for such albums, a grant of
rights to the record company, the royalties which will be paid to the artist based upon
exploitation of their recordings and how such royalties are to be calculated, advances against
future royalties that the record company will pay to the artist, and marketing commitments and
restrictions The terms of these agreements are extensively negotiated on a case by case basis
between the parties, and the terms of the agreements vary significantly ii'om one artist to the
next. The terms of these agreements are highly confidential and constitute commercially and
competitively sensitive proprietary infonnation. The agreements sometimes include express
coanentiality provisions that protect against their public disclosure.

8. The WMG Plaintiffs treat our artist agreements in the strictest of coniidence. The
terms of these agreements are not publicly known or available If they were included in the
public record, it would place the WMG Plaintiffs at a severe competitive disadvantage and cause

us inancial harm in relation to our competitors, who could try to use the information to their

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advantage in competing to sign and retain artists. As we are in the recorded music business, our
relationships with recording artists are critical to our success. The disclosure of the terms of our
artist agreements would jeopardize the WMG PlaintiH`s’ relationships with the artists who are
parties to the contracts; those artists are not parties to this litigation and expect that the
coniidential terms of their contracts will not be disclosed publicly. The disclosure of the
contacts could also undemiine our ability to negotiate with and sign new artists

Megger & Acguisitiou Ageements

9. ln addition, the WMG Plaintitfs have entered into merger or acquisition
transactions with counterparties at various times, by virtue of which they have acquired the rights
to recordings, including the exclusive U.S. rights to certain of those at issue in this case. I
attached a number of those agreements as exhibits to my September 14 Declaration: Exhibits 3,
6, 21, 22, and 25.

10. In addition to the merger and acquisition agreements I attached as exhibits to my
September 14 Declaration, Grande attached one more agreement produced by Wamer Bros.
Records Inc. (WBR_00003782) as part of Exhibit 5 to its Motion to Exclude. Exhibit 5 was
contemporaneously filed under seal as docket entry l58-2, attached to Defendant’s Unopposed
Motion to File Under Seal [cht. 158].

ll. These agreements contain a variety of coolident:ial, proprietary and commercially
sensitive pricing and deal terms, and accordingly often include express confidentiality
provisions Disclosure of these agreements would allow competitors and counterparties an
unfair advantage in their dealings with the WMG Plaintiffs, by enabling them to assess how the

WMG Plaintiffs and/or their contractual counterparts price and structure their transactions, and

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by enabling them to use that information to their advantage in their negotiations with the WMG
Plaintiffs.

12. For these reasons, the WMG Plaintiffs take steps to ensure that this information
remains coniidential, including express confidentiality provisions in contracts, designations and
notifications identifying this information as contidential, marking this information as
coniidential when in litigation, and other similar measures If such information were revealed,
the WMG PlaintiEs’ business interests would suffer competitive or financial injury, or potential
legal liability to third parties, including (but not limited to) harm to the WMG Plaintiffs’
negotiating position with respect to counterparties and harm to the WMG Plainti&'s' ability to

compete with other recording companies

l declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

as
Executed thisrz7 day of September, 2018, in @\.\r'l>c»\’l~ , mail .` le r n, ‘._`_.

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/s/

